             Case 19-13264-mdc                     Doc 15        Filed 06/04/19 Entered 06/04/19 23:21:04                            Desc Main
                                                                Document      Page 1 of 27
Fill in this information to identify your case and this filing:


Debtor 1           Frank                      J.              Peta, Jr.
                  __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


United States Bankruptcy Court for the: Eastern District
                                        __________       of Pennsylvania
                                                      District of ___________

Case number          19 - 13264 MDC
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

                        106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    ✔
        Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Single-family home
                                                                                                                  the amount of any secured claims on Schedule D:
            68 Madison Avenue
      1.1. _________________________________________
           Street address, if available, or other description
                                                                  Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.

                                                                  Condominium or cooperative                      Current value of the     Current value of the
                                                                  Manufactured or mobile home                     entire property?         portion you own?
             _________________________________________
                                                                  Land                                                 481,160.00
                                                                                                                   $________________            481,160.00
                                                                                                                                            $_______________
                                                                  Investment property
             Bala Cynwyd,             PA 19004
             _________________________________________
             City                    State   ZIP Code
                                                                  Timeshare                                       Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                  Other __________________________________        the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   fee simple
                                                                                                                   __________________________________________
             Montgomery                                          Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 ✔ At least one of the debtors and another
                                                                 
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                   Single-family home                             the amount of any secured claims on Schedule D:
      1.2. ________________________________________
           Street address, if available, or other description
                                                                   Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.

                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                   Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________
                                                                   Land                                           $________________        $_________________
                                                                   Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                   Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                   Other __________________________________       the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1
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Debtor 1       Frank            J.          Peta, Jr. Document
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                                                                                          Case number (if known)_____________________________________
                First Name       Middle Name          Last Name




                                                                  What is the property? Check all that apply.            Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                     Single-family home                                 the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description          Duplex or multi-unit building
                                                                     Condominium or cooperative                         Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
            ________________________________________                 Manufactured or mobile home
                                                                     Land                                               $________________         $_________________

            ________________________________________
                                                                     Investment property
            City                    State   ZIP Code                 Timeshare                                          Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                     Other __________________________________           the entireties, or a life estate), if known.
                                                                                                                        __________________________________________
                                                                  Who has an interest in the property? Check one.
            ________________________________________              
                                                                   Debtor 1 only
            County
                                                                  
                                                                   Debtor 2 only
                                                                  
                                                                   Debtor 1 and Debtor 2 only                             Check if this is community property
                                                                  
                                                                   At least one of the debtors and another
                                                                                                                             (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                      481,160.00
                                                                                                                                                   $_________________
   you have attached for Part 1. Write that number here. ......................................................................................Î




Part 2:      Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   ✔ Yes
   

   3.1.     Make:                       Ford
                                       ______________             Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put

            Model:                     ______________
                                                                  ✔ Debtor 1 only
                                                                                                                       the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                        2013                      Debtor 2 only
            Year:                      ____________
                                                                  Debtor 1 and Debtor 2 only                           Current value of the      Current value of the
                                 128,000                                                                                 entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
            Other information:
                                                                                                                                 9,150.00                  9,150.00
                                                                   Check if this is community property (see             $________________         $________________
             2013 Ford F-150                                          instructions)



   If you own or have more than one, describe here:

            Make:                      ______________             Who has an interest in the property? Check one.        Do not deduct secured claims or exemptions. Put
   3.2.

            Model:                     ______________
                                                                  
                                                                   Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                  
                                                                   Debtor 2 only
            Year:                      ____________
                                                                  
                                                                   Debtor 1 and Debtor 2 only
                                                                                                                         Current value of the
                                                                                                                         entire property?
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
            Approximate mileage: ____________                     
                                                                   At least one of the debtors and another
            Other information:
                                                                   Check if this is community property (see             $________________         $________________
                                                                      instructions)




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Debtor 1         Frank            J.          Peta, Jr. Document
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                                                                                                      Case number (if known)_____________________________________
                  First Name         Middle Name                Last Name




            Make:                           ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                          ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
            Year:                           ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
            Approximate mileage: ____________                               
                                                                             At least one of the debtors and another
            Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)


            Make:                           ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                          ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
            Year:                           ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
            Approximate mileage: ____________                               
                                                                             At least one of the debtors and another
            Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   No
    Yes

            Make:       ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                     
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
            Year:       ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
            Other information:                                              
                                                                             At least one of the debtors and another                                  entire property?                portion you own?

                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                     
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
            Year:       ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only
                                                                                                                                                      Current value of the
                                                                                                                                                      entire property?
                                                                                                                                                                                      Current value of the
                                                                                                                                                                                      portion you own?
            Other information:                                              
                                                                             At least one of the debtors and another


                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                           9,150.00
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................ Î




                                                              Schedule A/B: Property                                                                                         page 3
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                    First Name           Middle Name                  Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                              portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   ✔    Yes. Describe. ........          appliances, furniture, kitchenware                                                                                                                                6,000.00
                                                                                                                                                                                                $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   ✔    Yes. Describe. .........         televisions, cell phones, computers, printers                                                                                                                     3,000.00
                                                                                                                                                                                                $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
   
   ✔ Yes. Describe. ......... books, artwork                                                                                                                                                               1,000.00
                                                                                                                                                                                                $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
       No
   
   ✔    Yes. Describe. .........         drum set                                                                                                                                                          1,000.00
                                                                                                                                                                                                $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
   
   ✔  Yes. Describe. .......... pistol                                                                                                                                                                       300.00
                                                                                                                                                                                                $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   ✔    Yes. Describe. ..........        clothes, coats, shoes                                                                                                                                               500.00
                                                                                                                                                                                                $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   
   ✔    Yes. Describe. ..........
                                         jewelry
                                                                                                                                                                                                             300.00
                                                                                                                                                                                                $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

       No
   
   ✔    Yes. Describe. ..........                                                                                                                                                                            500.00
                                                                                                                                                                                                $___________________
                                         dog
14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific
                                                                                                                                                                                                $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                             12,600.00
                                                                                                                                                                                                $______________________
   for Part 3. Write that number here .................................................................................................................................................... Î



                                                                      Schedule A/B: Property                                                                                                 page 4
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Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                     Current value of the
                                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                                or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No
 ✔
     Yes ................................................................................................................................................................    Cash: .......................                200.00
                                                                                                                                                                                                                 $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                                                               Institution name:


                                            17.1. Checking account:                            Santander
                                                                                               _________________________________________________________                                                                   5,000.00
                                                                                                                                                                                                                 $__________________

                                            17.2. Checking account:                            Santander
                                                                                               _________________________________________________________                                                                     200.00
                                                                                                                                                                                                                 $__________________

                                            17.3. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.4. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.5. Certificates of deposit:                     _________________________________________________________                                                         $__________________

                                            17.6. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.7. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.8. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.9. Other financial account:                     _________________________________________________________                                                         $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
 ✔
     No
     Yes .................                Institution or issuer name:

                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   ✔ No
                                           Name of entity:                                                                                                                     % of ownership:
   
     Yes. Give specific                     _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
       information about
       them.........................        _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________
                                            _____________________________________________________________________                                                                0%
                                                                                                                                                                                ___________%                     $__________________




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20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 ✔ No

 
   Yes. Give specific                   Issuer name:
       information about
       them.......................      ______________________________________________________________________________________            $__________________
                                        ______________________________________________________________________________________
                                                                                                                                          $__________________
                                        ______________________________________________________________________________________
                                                                                                                                          $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   ✔
      No
      Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________     $__________________

                                        Pension plan:             ___________________________________________________________________     $__________________

                                        IRA:                      ___________________________________________________________________     $__________________

                                        Retirement account:       ___________________________________________________________________     $__________________

                                        Keogh:                    ___________________________________________________________________     $__________________

                                        Additional account:       ___________________________________________________________________     $__________________

                                        Additional account:       ___________________________________________________________________     $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   ✔   No
      Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________      $___________________
                                        Gas:                  ______________________________________________________________________      $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                          $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                          $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                          $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                          $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                          $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                          $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                          $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   ✔
      No
      Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________          $__________________
                                        _______________________________________________________________________________________           $__________________
                                        _______________________________________________________________________________________           $__________________


                                                            Schedule A/B: Property                                                   page 6
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   ✔
      No
      Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
   ✔
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   ✔
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   ✔
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
   ✔
      No
      Yes. Give specific information                                                                                        Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   ✔
      No
      Yes. Give specific information. .............
                                                                                                                            Alimony:                   $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   ✔
      No
      Yes. Give specific information. ..............
                                                                                                                                                       $______________________



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                    First Name           Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   ✔
       No
       Yes. Name the insurance company             Company name:                                                                             Beneficiary:                                       Surrender or refund value:
             of each policy and list its value. ...
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                 $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
   
   ✔    Yes. Describe each claim. ....................
                                                                    pending personal injury claim (S.F.A. # 9)                                                                                              50,000.00
                                                                                                                                                                                                 $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information............
                                                                                                                                                                                                 $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here .................................................................................................................................................... Î               55,400.00
                                                                                                                                                                                                 $_____________________




Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

       No. Go to Part 6.
   
   ✔    Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38. Accounts receivable or commissions you already earned

      No
       Yes. Describe .......
                                                                                                                                                                                               $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
   
   ✔    Yes. Describe .......                                                                                                                                                                              10,000.00
                                                                                                                                                                                               $_____________________
                                     equipment and supplies


                                                                      Schedule A/B: Property                                                                                                 page 8
             Case 19-13264-mdc                                   Doc 15                Filed 06/04/19 Entered 06/04/19 23:21:04 Desc Main
Debtor 1          Frank           J.           Peta, Jr. Document
                   _______________________________________________________                          Page 9 of 27                     19 - 13264 MDC
                                                                                                              Case number (if known)_____________________________________
                    First Name             Middle Name                Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

    No
   ✔ Yes. Describe .......
                                                                                                                                                                                                           5,000.00
                                         machinery and tools                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                  $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                      % of ownership:
                                          ______________________________________________________________________                                                   ________%                   $_____________________
                                          ______________________________________________________________________                                                   ________%                   $_____________________
                                          ______________________________________________________________________                                                   ________%                   $_____________________


43. Customer lists, mailing lists, or other compilations
       No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe. .......
                                                                                                                                                                                                $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                            $____________________
        information .........
                                          ______________________________________________________________________________________                                                                $____________________
                                         ______________________________________________________________________________________                                                                $____________________
                                         ______________________________________________________________________________________                                                                $____________________
                                         ______________________________________________________________________________________                                                                $____________________

                                          ______________________________________________________________________________________                                                                $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                             15,000.00
                                                                                                                                                                                                $____________________
   for Part 5. Write that number here .................................................................................................................................................... Î




Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   ✔ No. Go to Part 7.
   
    Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ..........................

                                                                                                                                                                                                 $___________________



                                                                      Schedule A/B: Property                                                                                                 page 9
                Case 19-13264-mdc                                    Doc 15                Filed 06/04/19 Entered 06/04/19 23:21:04 Desc Main
 Debtor 1            Frank            J.          Peta, Jr.Document
                      _______________________________________________________                          Page 10 of Case                  19 - 13264 MDC
                                                                                                                   27 number (if known)_____________________________________
                       First Name           Middle Name                   Last Name




48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

51. Any farm- and commercial fishing-related property you did not already list
         No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                          $___________________
     for Part 6. Write that number here .................................................................................................................................................... Î



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     ✔
          No
          Yes. Give specific
                                                                                                                                                                                                           $________________
           information. ............                                                                                                                                                                        $________________
                                                                                                                                                                                                            $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. Î                                                     $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 .............................................................................................................................................................. Î
                                                                                                                                                                                                               481,160.00
                                                                                                                                                                                                          $________________

56. Part 2: Total vehicles, line 5
                                                                                                                          9,150.00
                                                                                                                  $________________

57. Part 3: Total personal and household items, line 15                                                                  12,600.00
                                                                                                                  $________________

58. Part 4: Total financial assets, line 36                                                                              55,400.00
                                                                                                                  $________________

59. Part 5: Total business-related property, line 45                                                                     15,000.00
                                                                                                                  $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                     $________________

61. Part 7: Total other property not listed, line 54                                                          + $________________
62. Total personal property. Add lines 56 through 61. ....................                                               92,150.00 Copy personal property total Î
                                                                                                                  $________________                                                                      + $_________________
                                                                                                                                                                                                                  92,150.00


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                                     573,310.00
                                                                                                                                                                                                          $_________________



                                                                           Schedule A/B: Property                                                                                                   page 10
           Case 19-13264-mdc                     Doc 15       Filed 06/04/19 Entered 06/04/19 23:21:04                                    Desc Main
                                                             Document     Page 11 of 27
Fill in this information to identify your case:

 Debtor 1           Frank                     J.                Peta, Jr.
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: Eastern District
                                         __________       of Pennsylvania
                                                       District of __________

 Case number
  (If known)
                      19 - 13264 MDC
                     ___________________________________________                                                                              Check if this is an
                                                                                                                                                 amended filing



                         106C
Schedule C: The Property You Claim as Exempt                                                                                                               

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)
     ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
     

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the         Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from          Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                       ____________________________
      description:            residence
                             _________________________       4,861,160.00
                                                            $________________            ✔ $ ____________
                                                                                            11,825.00                            522(d)(1)
                                                                                                                                  ____________________________
      Line from                                                                           100% of fair market value, up to       ____________________________
                    A
      Schedule A/B: ______                                                                  any applicable statutory limit       ____________________________


      Brief                                                                                                                       ____________________________
      description:            automobile
                             _________________________       9,150.00
                                                            $________________            ✔ $ ____________
                                                                                            4,000.00                             522(d)(2)
                                                                                                                                  ____________________________
      Line from                                                                           100% of fair market value, up to       ____________________________
                    ______
                    B                                                                       any applicable statutory limit        ____________________________
      Schedule A/B:

      Brief                                                                                                                       ____________________________
      description:            hshld gds & frnshg
                             _________________________       10,500.00
                                                            $________________            ✔ $ ____________
                                                                                            10,500.00                            522(d)(3)
                                                                                                                                  ____________________________
      Line from                                                                           100% of fair market value, up to       ____________________________
      Schedule A/B: ______                                                                  any applicable statutory limit        ____________________________
                    B

   Are you claiming a homestead exemption of more than $1                       ?
     (Subject to adjustment on 4/01/ and every 3 years after that for cases filed on or after the date of adjustment.)
     ✔
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                        2
                                                                                                                                                      page 1 of __
            Case 19-13264-mdc                 Doc 15  Filed 06/04/19 Entered 06/04/19 23:21:04 Desc Main
Debtor 1       Frank          J.                   Document
                                           Peta, Jr.
              _______________________________________________________
                                                                      Page 12 of Case
                                                                                  27 number (if known)_____________________________________
                                                                                                       19 - 13264 MDC
              First Name        Middle Name      Last Name




  Part 2:     Additional Page

       Brief description of the property and line        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
       on Schedule A/B that lists this property          portion you own
                                                         Copy the value from    Check only one box for each exemption
                                                         Schedule A/B

      Brief
                                                                                ✔ $ ____________                        522(d)(4)
                                                                                                                        ____________________________
      description:
                            jewelry
                           _________________________               300.00
                                                         $________________              300.00                         ____________________________
      Line from     B
                    ______
                                                                                 100% of fair market value, up to      ____________________________
      Schedule A/B:                                                                any applicable statutory limit      ____________________________

      Brief                                                                                                             522(d)(5)
                                                                                                                        ____________________________
      description:          other property
                           _________________________            10,200.00
                                                         $________________      
                                                                                ✔ $ ____________
                                                                                      10,200.00                         ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
      Schedule A/B:
                    B
                    ______                                                         any applicable statutory limit       ____________________________


      Brief
                                                                                ✔ $ ____________                        522(d)(6)
                                                                                                                        ____________________________
      description:
                            business tools
                           _________________________            15,000.00
                                                         $________________            2,525.00
                                                                                                                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                    B
                    ______                                                         any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief
                                                                                ✔ $ ____________                        522(d)(11)(D)
                                                                                                                        ____________________________
      description:
                            personal injury claim
                           _________________________            50,000.00
                                                         $________________           25,150.00
                                                                                                                        ____________________________
      Line from     B
                    ______
                                                                                 100% of fair market value, up to      ____________________________
      Schedule A/B:                                                                any applicable statutory limit      ____________________________

      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                    ______                                                         any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                    ______                                                         any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from     ______
                                                                                 100% of fair market value, up to      ____________________________
      Schedule A/B:                                                                any applicable statutory limit      ____________________________

      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                        ____________________________
      Schedule A/B: ______                                                         any applicable statutory limit


      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                    ______                                                         any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from     ______
                                                                                 100% of fair market value, up to      ____________________________
      Schedule A/B:                                                                any applicable statutory limit      ____________________________

      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                        ____________________________
      Schedule A/B: ______                                                         any applicable statutory limit


      Brief                                                                                                             ____________________________
      description:
                           _________________________     $________________       $ ____________                        ____________________________
      Line from                                                                  100% of fair market value, up to      ____________________________
                    ______                                                         any applicable statutory limit       ____________________________
      Schedule A/B:


                                          Schedule C: The Property You Claim as Exempt                                       page ___  2
                                                                                                                                               2 of __
               Case 19-13264-mdc                       Doc 15        Filed 06/04/19 Entered 06/04/19 23:21:04                                          Desc Main
                                                                    Document     Page 13 of 27
Fill in this information to identify your case:

 Debtor 1          Frank                       J.              Peta, Jr.
                   __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: Eastern District
                                         __________       of Pennsylvania
                                                       District of __________

 Case number         19 - 13264 MDC
                     ___________________________________________
 (If known)                                                                                                                                               Check if this is an
                                                                                                                                                             amended filing


 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔ Yes. Fill in all of the information below.
      

Part 1:        List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1                                                                                                                             140,000.00 $________________
                                                                                                                                               481,160.00 $____________
       PNC Bank
      ______________________________________
                                                           Describe the property that secures the claim:                   $_________________
      Creditor’s Name
       2730 Liberty Avenue
      ______________________________________
                                                           68 Madison Avenue (1st mortgage)
      Number            Street

       Pittsburgh,          PA 15222                       As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      ______________________________________                   Unliquidated
      City                        State   ZIP Code         ✔
                                                               Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                      ✔
                                                               An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
  ✔
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2                                                                                                                              75,000.00 $________________
                                                                                                                                               481,160.00 $____________
       Tompkins VIST Bank
      ______________________________________
                                                           Describe the property that secures the claim:                   $_________________
      Creditor’s Name
       1240 Broadcasting Road
      ______________________________________
                                                           68 Madison Avenue (2nd mortgage)
      Number            Street

       Wyomissing,         PA 19610                        As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      ______________________________________                   Unliquidated
      City                        State   ZIP Code         ✔
                                                               Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                      ✔
                                                               An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
  ✔
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                    215,000.00
                                                                                                                           $________________


fficial Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                             2
                                                                                                                                                               page 1 of ___
               Case 19-13264-mdc                       Doc 15        Filed 06/04/19 Entered 06/04/19 23:21:04                                      Desc Main
                                                                    Document     Page 14 of 27
 Debtor 1         Frank            J.          Peta, Jr.
                   _______________________________________________________                                                        19 - 13264 MDC
                                                                                                           Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




               Additional Page                                                                                          Column A               Column B              Column C
Part 1:                                                                                                                 Amount of claim        Value of collateral   Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed                                                that supports this    portion
                                                                                                                        Do not deduct the
               by 2.4, and so forth.                                                                                    value of collateral.   claim                 If any
.3     Capital One Auto Finance                         Describe the property that secures the claim:                         14,100.00
                                                                                                                        $_________________           9,150.00 $____________
                                                                                                                                               $________________
      ______________________________________
      Creditor’s Name
       4515 No. Santa Fe Avenue
      ______________________________________            2013 Ford F-150
      Number            Street

      ______________________________________            As of the date you file, the claim is: Check all that apply.
       Oklahoma City,        OK 73118 
      ______________________________________                 Contingent
      City                   State ZIP Code                 Unliquidated
                                             ✔
                                             ■
                                                            Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     ✔
        Debtor 1 only                                  ✔
                                                        ■
                                                            An agreement you made (such as mortgage or secured
        Debtor 2 only                                       car loan)
        Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another            Judgment lien from a lawsuit
                                                            Other (including a right to offset) ____________________
        Check if this claim relates to a
         community debt

     Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


      ______________________________________            Describe the property that secures the claim:                   $_________________ $________________ $____________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                        As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                            Contingent
      ______________________________________                Unliquidated
      City                         State    ZIP Code
                                                            Disputed
     Who owes the debt? Check one.
                                                        Nature of lien. Check all that apply.
        Debtor 1 only
                                                            An agreement you made (such as mortgage or secured
        Debtor 2 only                                       car loan)
        Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another            Judgment lien from a lawsuit

        Check if this claim relates to a
                                                            Other (including a right to offset) ____________________
         community debt

     Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


      ______________________________________            Describe the property that secures the claim:                   $_________________ $________________ $____________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________            As of the date you file, the claim is: Check all that apply.
      ______________________________________                Contingent
      City                         State    ZIP Code        Unliquidated
                                                            Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                      An agreement you made (such as mortgage or secured
        Debtor 2 only                                       car loan)
        Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another            Judgment lien from a lawsuit
                                                            Other (including a right to offset) ____________________
        Check if this claim relates to a
         community debt
     Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

                                                                                                          14,100.00
             Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
             If this is the last page of your form, add the dollar value totals from all pages.                              229,100.00
             Write that number here:                                                                                    $_________________

                              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2      2
                                                                                                                                                                 ___ of ___
                  Case 19-13264-mdc                         Doc 15    Filed 06/04/19 Entered 06/04/19 23:21:04                                       Desc Main
  Fill in this information to identify your case:                    Document     Page 15 of 27

      Debtor 1          Frank                      J.               Peta, Jr.
                        __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name              Last Name


      United States Bankruptcy Court for the: Eastern District
                                              __________       of Pennsylvania
                                                            District of __________

      Case number         19 - 13264 MDC
                          ___________________________________________
                                                                                                                                                       Check if this is an
      (If known)                                                                                                                                          amended filing


  106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
         ✔ Yes.
         
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim   Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1
            Internal Revenue Service
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___                     1.00 $___________
                                                                                                                                  $_____________       1.00 $____________
           Priority Creditor’s Name
            P.O. Box 7346
           ____________________________________________                When was the debt incurred?          ____________
           Number            Street
            Philadelphia,          PA      19101
           ____________________________________________
                                                                       As of the date you file, the claim is: Check all that apply.
           ____________________________________________
           City                                State    ZIP Code
                                                                          Contingent
                                                                          Unliquidated
           Who incurred the debt? Check one.                           ✔
                                                                          Disputed
                 Debtor 1 only
                 Debtor 2 only                                        Type of PRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only
                                                                          Domestic support obligations
           ✔
                 At least one of the debtors and another              ✔
                                                                          Taxes and certain other debts you owe the government
                 Check if this claim is for a community debt             Claims for death or personal injury while you were
           Is the claim subject to offset?                                 intoxicated
           ✔
                 No                                                      Other. Specify _________________________________
                 Yes
2.2         Lower Merion Township                                                                                                         4,455.00 $___________
                                                                                                                                                     4,455.00 $____________
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___                $_____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
            75 East Lancaster Avenue
           ____________________________________________
           Number            Street
           ____________________________________________                As of the date you file, the claim is: Check all that apply.

           Ardmore,                  PA 19003
           ____________________________________________
                                                                          Contingent
           City                                State    ZIP Code          Unliquidated
           Who incurred the debt? Check one.
                                                                       ✔
                                                                          Disputed
                 Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                          Domestic support obligations
                 Debtor 1 and Debtor 2 only
                                                                       ✔
           
           ✔      At least one of the debtors and another
                                                                          Taxes and certain other debts you owe the government
                                                                          Claims for death or personal injury while you were
                 Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                Other. Specify _________________________________
           ✔
                 No
                 Yes


 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                     5
                                                                                                                                                            page 1 of ___
               Case  19-13264-mdc
                 Frank      J.                           Doc 15
                                                   Peta, Jr.           Filed 06/04/19 Entered 06/04/19 23:21:04     19 - 13264 MDCDesc Main
 Debtor 1             _______________________________________________________
                      First Name    Middle Name           Last Name   Document     Page 16 of Case
                                                                                               27 number (if known)_____________________________________
  Part 1:            Your PRIORITY Unsecured Claims Ʌ Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                              Total claim   Priority     Nonpriority
                                                                                                                                                    amount       amount

 .3
        MontCo Tax Claim Bureau
        ____________________________________________                   Last 4 digits of account number ___ ___ ___ ___                  6,895.00 $__________
                                                                                                                                      $____________ 6,895.00 $____________
        Priority Creditor’s Name
        P.O. Box 311
        ____________________________________________                   When was the debt incurred?          ____________
        Number             Street

        ____________________________________________                   As of the date you file, the claim is: Check all that apply.

        Norristown,              PA      19404
        ____________________________________________
                                                                          Contingent
        City                                State   ZIP Code              Unliquidated
                                                                       ✔
                                                                          Disputed
        Who incurred the debt? Check one.
         Debtor 1 only                                                Type of PRIORITY unsecured claim:
         Debtor 2 only                                                   Domestic support obligations
         Debtor 1 and Debtor 2 only                                   ✔
                                                                          Taxes and certain other debts you owe the government
        ✔ At least one of the debtors and another
                                                                         Claims for death or personal injury while you were
              Check if this claim is for a community debt                 intoxicated
                                                                          Other. Specify _________________________________

        Is the claim subject to offset?
        ✔ No
        
         Yes
0.4
        Pennsylvania Dept. of Revenue
        ____________________________________________                   Last 4 digits of account number ___ ___ ___ ___                  3,875.00 $__________
                                                                                                                                      $____________ 3,875.00 $____________
        Priority Creditor’s Name

        P.O. Box 280946
        ____________________________________________                   When was the debt incurred?          ____________
        Number             Street

        ____________________________________________                   As of the date you file, the claim is: Check all that apply.

        Harrisburg,              PA      17128
        ____________________________________________
                                                                          Contingent
        City                                State   ZIP Code              Unliquidated
                                                                       ✔
                                                                          Disputed
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
         Debtor 2 only                                                   Domestic support obligations
         Debtor 1 and Debtor 2 only                                   ✔
                                                                          Taxes and certain other debts you owe the government
         At least one of the debtors and another                         Claims for death or personal injury while you were
              Check if this claim is for a community debt                 intoxicated
                                                                          Other. Specify _________________________________

        Is the claim subject to offset?
        ✔ No
        
         Yes
0.4
        ____________________________________________                   Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
        Priority Creditor’s Name

        ____________________________________________                   When was the debt incurred?          ____________
        Number             Street

        ____________________________________________                   As of the date you file, the claim is: Check all that apply.

        ____________________________________________
                                                                          Contingent
        City                                State   ZIP Code              Unliquidated
                                                                          Disputed
        Who incurred the debt? Check one.
              Debtor 1 only                                           Type of PRIORITY unsecured claim:
              Debtor 2 only
                                                                          Domestic support obligations
              Debtor 1 and Debtor 2 only
                                                                          Taxes and certain other debts you owe the government
              At least one of the debtors and another
                                                                          Claims for death or personal injury while you were
              Check if this claim is for a community debt                 intoxicated
                                                                          Other. Specify _________________________________

        Is the claim subject to offset?
              No
              Yes


                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                    page2__ of ___
                                                                                                                                                                           5
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                 Frank      J.                           Doc 15
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 Debtor 1             _______________________________________________________
                      First Name      Middle Name           Last Name   Document     Page 17 of Case
                                                                                                 27 number (if known)_____________________________________
  Part 2:           List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1
        Credit One Bank
        _____________________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
        Nonpriority Creditor’s Name
                                                                                                                                                                          700.00
                                                                                                                                                                $__________________
                                                                                        When was the debt incurred?           ____________
        P.O. Box 98873
        _____________________________________________________________
        Number             Street

        Las Vegas,                          NV         89193
        _____________________________________________________________
        City                                             State          ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                           Contingent
        Who incurred the debt? Check one.                                                  Unliquidated
        ✔
              Debtor 1 only                                                            ✔
                                                                                           Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                                     Student loans

              Check if this claim is for a community debt                                 Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
        Is the claim subject to offset?                                                    Debts to pension or profit-sharing plans, and other similar debts
        ✔
              No                                                                       ✔
                                                                                                           credit card
                                                                                            Other. Specify ______________________________________
              Yes

4.2     Discover Bank                                                                   Last 4 digits of account number ___ ___ ___ ___                                12,500.00
                                                                                                                                                                $__________________
        _____________________________________________________________
        Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
        P.O. Box 3025
        _____________________________________________________________
        Number             Street
        New Albany,                         OH         43054                            As of the date you file, the claim is: Check all that apply.
        _____________________________________________________________
        City                                             State          ZIP Code
                                                                                           Contingent
        Who incurred the debt? Check one.                                                  Unliquidated
        ✔
              Debtor 1 only
                                                                                        
                                                                                        ✔   Disputed

              Debtor 2 only
                                                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                                     Student loans
                                                                                           Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                                  that you did not report as priority claims
        Is the claim subject to offset?                                                    Debts to pension or profit-sharing plans, and other similar debts
        ✔
              No
                                                                                        ✔
                                                                                                           credit card
                                                                                            Other. Specify ______________________________________

              Yes

4.3
        J & L Building Materials, Inc.
        _____________________________________________________________                   Last 4 digits of account number ___ ___ ___ ___                                 1,125.00
        Nonpriority Creditor’s Name                                                                                                                             $_________________
                                                                                        When was the debt incurred?           ____________
        600 Lancaster Avenue
        _____________________________________________________________
        Number             Street
        Frazier,                            PA         19355
        _____________________________________________________________                   As of the date you file, the claim is: Check all that apply.
        City                                             State          ZIP Code

                                                                                           Contingent
        Who incurred the debt? Check one.
                                                                                           Unliquidated
        ✔ Debtor 1 only
                                                                                       ✔
                                                                                           Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                                                    Type of NONPRIORITY unsecured claim:
         At least one of the debtors and another
                                                                                           Student loans
              Check if this claim is for a community debt                                 Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
        Is the claim subject to offset?
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
        ✔ No
                                                                                       ✔
                                                                                           Other. Specify ______________________________________
         Yes


                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                         page3__ of 5
                                                                                                                                                                                  ___
               Case  19-13264-mdc
                 Frank      J.                           Doc 15
                                                  Peta, Jr.              Filed 06/04/19 Entered 06/04/19 23:21:04     19 - 13264 MDCDesc Main
 Debtor 1             _______________________________________________________
                      First Name      Middle Name           Last Name   Document     Page 18 of Case
                                                                                                 27 number (if known)_____________________________________

  Part 2:           Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


  After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                          Total claim


4.4
                                                                                          Last 4 digits of account number ___ ___ ___ ___                            1,480.00
        Main Street Acquisition Corp.
        _____________________________________________________________                                                                                             $____________
        Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?          ____________
        P.O. Box 3001
        _____________________________________________________________
        Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Malvern,                            PA         19355
        _____________________________________________________________
        City                                             State          ZIP Code             Contingent
                                                                                             Unliquidated
        Who incurred the debt? Check one.                                                 ✔
                                                                                             Disputed
        
        ✔ Debtor 1 only
         Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                         Student loans
         At least one of the debtors and another                                            Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
              Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   ✔
                                                                                                            line of credit
                                                                                              Other. Specify________________________________
        ✔ No
        
         Yes

4.5
        Michael D. Stern                                                                  Last 4 digits of account number ___ ___ ___ ___                            5,170.00
                                                                                                                                                                  $____________
        _____________________________________________________________
        Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?          ____________
        1407 Sussex Road
        _____________________________________________________________
        Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Wynnewood,                          PA         19096
        _____________________________________________________________
        City                                             State          ZIP Code             Contingent
                                                                                             Unliquidated
        Who incurred the debt? Check one.                                                 ✔
                                                                                             Disputed
        ✔ Debtor 1 only
        
         Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                         Student loans
         At least one of the debtors and another                                            Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
              Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   ✔
                                                                                                            line of credit
                                                                                              Other. Specify________________________________
        ✔ No
        
         Yes

                                                                                                                                                                  $____________
                                                                                          Last 4 digits of account number ___ ___ ___ ___
        _____________________________________________________________
        Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?          ____________
        _____________________________________________________________
        Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        _____________________________________________________________
        City                                             State          ZIP Code             Contingent
                                                                                             Unliquidated
        Who incurred the debt? Check one.                                                    Disputed
              Debtor 1 only
              Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
                                                                                             Student loans
              At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
              Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                      Other. Specify________________________________
              No
              Yes




                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 4     5
                                                                                                                                                                       __ of ___
            Case  19-13264-mdc
              Frank      J.                   Doc 15
                                            Peta, Jr.         Filed 06/04/19 Entered 06/04/19 23:21:04     19 - 13264 MDCDesc Main
Debtor 1       _______________________________________________________
               First Name    Middle Name         Last Name   Document     Page 19 of Case
                                                                                      27 number (if known)_____________________________________

Part 4:      Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                         Total claim


                6a. Domestic support obligations                                 6a.
Total claims                                                                             $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                   6b.                   15,226.00
                                                                                         $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                  6c.
                                                                                         $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                      6d.
                                                                                       + $_________________________

                6e. Total. Add lines 6a through 6d.                              6e.
                                                                                                       15,226.00
                                                                                         $_________________________



                                                                                         Total claim

                6f. Student loans                                                6f.
Total claims                                                                              $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                       6g.      $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                                6h.     $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                      6i.                   20,975.00
                                                                                       + $_________________________

                6j. Total. Add lines 6f through 6i.                              6j.
                                                                                                        20,975.00
                                                                                          $_________________________




                                        Schedule E/F: Creditors Who Have Unsecured Claims                               page 5     5
                                                                                                                                           __ of ___
            Case 19-13264-mdc                    Doc 15      Filed 06/04/19 Entered 06/04/19 23:21:04                                Desc Main
                                                            Document     Page 20 of 27
 Fill in this information to identify your case:

 Debtor               Frank                      J.                Peta, Jr.
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                         Eastern District
 United States Bankruptcy Court for the: __________       ofofPennsylvania
                                                    District   ________

 Case number            19 - 13264 MDC
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
           Case 19-13264-mdc                           Doc 15              Filed 06/04/19 Entered 06/04/19 23:21:04                   Desc Main
                                                                          Document     Page 21 of 27
 Fill in this information to identify your case:

 Debtor 1          Frank                      J.               Peta, Jr.
                   __________________________________________________________________
                     First Name                     Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                         Eastern District
 United States Bankruptcy Court for the: __________            ________
                                                          ofofPennsylvania
                                                    District

 Case number         19 - 13264 MDC
                     ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      ✔
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1      Ann Marie Peta (estranged spouse)
         ________________________________________________________________________________                 ✔ Schedule D, line ______
                                                                                                                            2.1/2.2
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                                    1
                                                                                                                                                 page 1 of ___
           Case 19-13264-mdc                   Doc 15      Filed 06/04/19 Entered 06/04/19 23:21:04                               Desc Main
                                                          Document     Page 22 of 27
 Fill in this information to identify your case:


 Debtor 1           Frank                      J.              Peta, Jr.
                    ____________________________________________________________________
                     First Name             Middle Name              Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name              Last Name


 United States Bankruptcy Court for the: Eastern District
                                         __________       of Pennsylvania
                                                       District of ___________

 Case number          19 - 13264 MDC
                     ___________________________________________                                     Check if this is:
  (If known)
                                                                                                      An amended filing
                                                                                                      A supplement showing postpetition chapter 13
                                                                                                        income as of the following date:
                                                                                                        ________________
                  106I                                                                         MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                           Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
                                         Employment status              ✔ Employed
                                                                                                                         Employed
    information about additional
    employers.                                                           Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                    Roofer
                                                                       __________________________________         __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name              self employed
                                                                      __________________________________           __________________________________


                                         Employer’s address           _______________________________________    ________________________________________
                                                                       Number Street                              Number    Street

                                                                      _______________________________________    ________________________________________

                                                                      _______________________________________    ________________________________________

                                                                      _______________________________________    ________________________________________
                                                                       City            State  ZIP Code             City                State ZIP Code

                                         How long employed there?           _______                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.         2.
                                                                                               $___________              $____________

 3. Estimate and list monthly overtime pay.                                              3.   + $___________      +      $____________


 4. Calculate gross income. Add line 2 + line 3.                                         4.    $__________            $____________




Official Form 106I                                                Schedule I: Your Income                                                     page 1
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Debtor 1          Frank            J.           Peta, Jr.
                   _______________________________________________________                                                                          19 - 13264 MDC
                                                                                                                             Case number (if known)_____________________________________
                   First Name        Middle Name                Last Name



                                                                                                                            For Debtor 1         For Debtor 2 or
                                                                                                                                                 non-filing spouse

    Copy line 4 here............................................................................................... Î 4.     $___________            $_____________

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                              5a.     $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                               5b.     $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                               5c.     $____________            $_____________
     5d. Required repayments of retirement fund loans                                                               5d.     $____________            $_____________
     5e. Insurance                                                                                                  5e.     $____________            $_____________
     5f. Domestic support obligations                                                                               5f.     $____________            $_____________

     5g. Union dues                                                                                                 5g.     $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                              5h.    + $____________       +   $_____________

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                     6.     $____________            $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                             7.     $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                                   5,800.00
                                                                                                                            $____________            $_____________
            monthly net income.                                                                                     8a.
      8b. Interest and dividends                                                                                    8b.     $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                            $____________            $_____________
            settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                  8d.     $____________            $_____________
      8e. Social Security                                                                                           8e.     $____________            $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.                                                  $____________            $_____________

      8g. Pension or retirement income                                                                              8g.     $____________            $_____________

      8h. Other monthly income. Specify: _______________________________                                            8h.    + $____________       + $_____________
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                           9.         5,800.00
                                                                                                                            $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                                5,800.00
                                                                                                                            $___________     +       $_____________     =        5,800.00
                                                                                                                                                                            $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                       10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                      11.   +   $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.            5,800.00
                                                                                                                                                                            $_____________
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
           No.
      
      ✔     Yes. Explain:        Debtor has lower monthly income during the winter months.


                                                                        Schedule I: Your Income                                                                  page 2
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   Fill in this information to identify your case:

   Debtor 1          Frank                      J.              Peta, Jr.
                     __________________________________________________________________
                       First Name              Middle Name                  Last Name                           Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name                  Last Name
                                                                                                                 An amended filing
                                                                                                                 A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Eastern District
                                           __________       of Pennsylvania
                                                        District of __________                                      expenses as of the following date:
                                                                                                                    ________________
   Case number         19 - 13264 MDC
                       ___________________________________________                                                  MM / DD / YYYY
    (If known)




                           106J
 Schedule J: Your Expenses                                                                                                                                     12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

    ✔
        No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                   No                                            Dependent’s relationship to              Dependent’s    Does dependent live
    Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                            Debtor 1 or Debtor 2                     age            with you?
    Debtor 2.                                    each dependent ..........................
    Do not state the dependents’                                                             son                                       23               No
                                                                                             _________________________                ________
    names.
                                                                                                                                                    ✔
                                                                                                                                                        Yes

                                                                                             daughter
                                                                                             _________________________                20
                                                                                                                                      ________          No
                                                                                                                                                    ✔
                                                                                                                                                        Yes

                                                                                             daughter
                                                                                             _________________________                18
                                                                                                                                      ________          No
                                                                                                                                                    ✔
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

                                                                                             _________________________                ________          No
                                                                                                                                                        Yes

 3. Do your expenses include                 ✔
                                                No
    expenses of people other than
    yourself and your dependents?               Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                   Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                       907.00
                                                                                                                                        $_____________________
      any rent for the ground or lot.                                                                                           4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                                  4a.                    500.00
                                                                                                                                        $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                                       4b.     $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                                      4c.     $_____________________
      4d.    Homeowner’s association or condominium dues                                                                        4d.     $_____________________

Official Form 106J                                                Schedule J: Your Expenses                                                                page 1
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 Debtor 1         Frank           J.            Peta, Jr.
                   _______________________________________________________                                         19 - 13264 MDC
                                                                                            Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                                     250.00
                                                                                                                      $_____________________
  5. Additional mortgage payments for your residence, such as home equity loans                                5.


  6. Utilities:

      6a.   Electricity, heat, natural gas                                                                     6a.                   250.00
                                                                                                                      $_____________________
      6b.   Water, sewer, garbage collection                                                                   6b.                   100.00
                                                                                                                      $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.                   330.00
                                                                                                                      $_____________________
      6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________

  7. Food and housekeeping supplies                                                                            7.                    400.00
                                                                                                                      $_____________________

  8. Childcare and children’s education costs                                                                  8.     $_____________________
  9. Clothing, laundry, and dry cleaning                                                                       9.     $_____________________
10. Personal care products and services                                                                        10.    $_____________________
11. Medical and dental expenses                                                                                11.                   100.00
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                     300.00
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
14.   Charitable contributions and religious donations                                                         14.    $_____________________

15. Insurance.                                                                                                                                       1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.   $_____________________
      15b. Health insurance                                                                                    15b.   $_____________________
      15c. Vehicle insurance                                                                                   15c.                  400.00
                                                                                                                      $_____________________
      15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                        16.    $_____________________

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                          17a.                  399.00
                                                                                                                      $_____________________

      17b. Car payments for Vehicle 2                                                                          17b.   $_____________________

      17c. Other. Specify:_______________________________________________                                      17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                      17d.   $_____________________

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.
                                                                                                                      $_____________________

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                           19.   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.   $_____________________

      20b. Real estate taxes                                                                                   20b.   $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________

      20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________



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 Debtor 1           Frank           J.            Peta, Jr.
                     _______________________________________________________                                           19 - 13264 MDC
                                                                                                Case number (if known)_____________________________________
                     First Name    Middle Name     Last Name




21.    Other. Specify: _________________________________________________                                           21.   +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.                  4,336.00
                                                                                                                          $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.     $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.                  4,336.00
                                                                                                                          $_____________________



23. Calculate your monthly net income.
                                                                                                                                       5,800.00
                                                                                                                           $_____________________
      23a.    Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.    Copy your monthly expenses from line 22c above.                                                     23b.                 4,336.00
                                                                                                                         – $_____________________
      23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                                       1,464.00
                                                                                                                           $_____________________
              The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔
           No.
           Yes.       Explain here:




                                                   Schedule J: Your Expenses                                                       page 3
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